Defendant filed a petition for the custody, care, and control of Russell Amburgey, a child about ten years old, and to amend a decree of divorce granted plaintiff, Boyd Amburgey, October 7, 1921, giving him the care, custody, and control of the minor child. No pleadings, calendar entries, or final order appear in the printed record. Nothing is presented for review. The appeal might be dismissed on this ground. The files in the clerk's office show a final order granting the prayer of the petitioner. The testimony is conflicting. The trial judge saw the witnesses. We are not, on this record, inclined to disturb his order, which is affirmed with costs.
WIEST, C.J., and BUTZEL, CLARK, McDONALD, SHARPE, NORTH, and FEAD, JJ., concurred. *Page 173 